      Case 8:21-cv-01585-DFM Document 138 Filed 04/18/23 Page 1 of 1 Page ID #:4019




                                     UNITED STATES DISTRICT COURT
                                    CENTRAL DISTRICT OF CALIFORNIA
                                                               CASE NUMBER:
DONALD WAKEFIELD,
                                                                              8:21-cv-01585 DFM
                                                Plaintiff(s)
                           v.

OLEN PROPERTIES CORP., et al.,
                                                                MOTION RE: INFORMAL DISCOVERY DISPUTE
                                              Defendant(s)



The parties have requested an informal discovery conference with Magistrate Judge Douglas F. McCormick .
Counsel for each party has submitted their respective positions and the issue will be adjudicated in accordance
with the Magistrate Judge's procedures.


   No Hearing Required           Hearing Required
                                 In-Person Court Hearing
                                 Video Conference
                                 Telephonic


Magistrate Judge Douglas F. McCormick

Date/Time          April 20, 2023, at 9:00 am

Courtroom:         Telephonic




 Dated:         April 18, 2023                                       By:          Nancy Boehme
                                                                                 Deputy Clerk




CV-19 (11/21)                        MOTION RE: INFORMAL DISCOVERY DISPUTE                             Page 1 of 1
